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                            Nunwberig Inhabitans,                                        31
  &rnd be~liere~y hsajlointed a Cc.mmiitee to take arud tetlr an Account t~f tha
  Numbet f the like Inhabirants of the County of Harnpjirt. AnA that'IVlr,
  Si mon. F'y, Major Ichabod Goodwit, and W:'illiam Bradbury, be and hereby
  are appointed a Committee to take'and return an Account of the Number of tho
  like Inha6itits in the County of Yor4. ,And ,that Mvfliefuri David .Barter,
  George Freeem4n, 7oh,, Na,        zacJaroNs, and PhiniehAjFrojf, be, and hereby
  2te appointed a Committcc tp take and return an Accou-.t of the Number of the
  like biuabitints in the County of Cumberland. And that .Ezelirl Pair, E'q;
  Col.'friiii          e,, Mr. Jaine Afi,,ot, Col. Jomotban Buck, and Col. ih'.A
 andtir'mpbel, be, and hereby-are -appointed a Committee to take and return
 iaAccounr of the Number of the like Inhabirants in the County of Lincoln:
   Sth Members of each of the faid Committees, fhall and hereby are impow-
 J      f'Ao feverally in the laid Bufinef 1 and each one of them fball take and
        -'
           the Number of all fuch Inhab~incs a dwoll on fuch particular and feve-
       .)hlib..or Divifions of Land in the fad Countics of .rftiirr, Hamp.fti
 "'aJ'k, Cumberland,and Liacohi, as 'hall be agreed on and determined by the laid
  Committeet re!"peqivtly.
      .4•dn te rEnatfed, 'hat the Parent, MIter or Miflrefs of any r'amily, thbPcaaty for
     iNubt-r whcre'ofis          .0obe taken by fuch Committee, who 1hall refufe halls Ofr-
 to givi a ul and tru        .    ,of the Number of his or her Family, fhji forfeit milis refi-
 ,and pay the like SUO         a like Ufe, and be recovtred in the like Mianner, as
 bei-re ;h thii A& is provided, to be orfcited by, and recovered of the Hsods ajuitaccout:
                                                                                 of of the Nuni.
 Tn " ilicadwiling in Towns who fhalI ref'u(e to give a true Acceunt of the Num. hers iatheir
 bur of 1-i or hcr Fanily, ro the Selecan of the I ow to which they belong. Famillcs.
    .4nd.b it fart          #gel, That each and every one of the Se"enmen,
 and- the Corttni, c-tfaid,          (hall, before they enter, upon the Service C. m.tte,,
 ufrciaid,                                                                                ,
                 the (t':aake Affirmation hsrein after prefcribed,..before Fbme to be sadcr
 3 fflce of the Peace fofi the County. or the Town Celhk of the Town Oath.
 to which fuch Seleimen or Committee fhall rfpeftively belong, who
 ai hereby rcfpeAively impowered to,admiaifier the (ame,
    ean'cb it jurlhtr ena.9ed, That the Oath-or Affirmation to be adminiler¢cd
 to ei of thea id Selee'hn~n and Commitice, 'hall be ratauij inutanfi$,
              followlrg, viz.
    TO U.A. B.do faeny Swear, ttat ysu will fa'~fully ad truly e.vecure Porm of the
 afidtr/or the Duly and Servile refuired ofyou, iYone 4. or Law of Aix
                                                                                    Oath.
 Colony, intit,d, An A& for the carrying into Fxccufion a Refoive of tLe
 ,Arne'ican Congrefs, for afcertaining the Number of Inhabitants in
                                                                               thic
 Cglony.                                                 Sio help you G 0 V.
                               C 14A I
                                    i
 An A& for the executing in the Colony' of the Maache-
  flitr-ay, in New-Ewng/an one Refolve of the American
   congrefi, dated March 14, 1776, recommending the
   difarming fuch Perfons as are notorioufly difaffeaed to
   the Caufe of /Imerica,or who refufe to affociate co defend
   by Arms the United American Colonies, againft the hoflile
   Attempts of the. Britifj Fleets and Armies, and for the
   tefiraining and punifhing Perfons who are inimic i to
   the Rights and Liberties of the faid United Coloiesand
   fo ddircaing the Proceedings therein.
 tITIIER'L4
 Wn                      teurteenth fiMarch Ore 7 houndfeven Iundrsdand
  '= S.   f"               ' "mRie   wias made and pA frd ky 1t Amerian
            '.I                                                         eovngrefs,




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    17 76.         1 uit   rtar of Our LO R    , One Thoufand feven IAndred and Sovtnt'),tx.

        32                                         Teft.
              Congrej, oftheb/ilowing Tenor, viz. " Refrlved, That it be recommended to'
                 the feveral A(Temblips, Conventi(ns and Councils, or Committecs ofSafely
              •of the United Colonies, immodiatcly to caufo all Perfons to be diformei
              ,, within thei, refj)eive Colonies, who are cotorioufly diffhc6ted to the Caufa
                 of .4merica, or who have not afroiated and ref'ufe to afrociate to defend by
                 Arms ekf United Colonies, againft the hoflile Attempts of the Britij/ Fleets
                 and Armies ; and to apply the Arms taken from fhch Perfrns in each re-
                 fpefive Colony, in tOa firtl Place, to the arming of the Continental Troops
                 ratfed in faid Colony ; io the next, to the arming fuch Troops as sre tifed
                 by the Colony for it's ow, Defence, and the Rtfidua to be applied to the
                 arming the Affociators ; that their Arms when taken, be 2ppraifcd by indiffe.
              " rent Perfons, and fuCh Zs are applied to tho arming Continental Troopr, A
                  paid fo'r by Congrefs ; and the Refidue by the refper&ve A imblis, c,. 1
                 "vrtionsor Councils, or Committees of Safety"
                  Be it therefore enated by the Council, 'ihd Uoufe of Reprefntat;vej itt
  Ali Perjvs teral Court afmbltd, antd by the .. utAhority of thefane, Tlhat every MaleoPar*'
  'who refife  fun a;ove fixteen Years of Age, refident in any Town or Place in this Colony,
  the   ' tft to
  b .Jif. rmd, who fhall negle& or refute to fubFcribc a printed or written Declaition of the
                 Form and Tenor herein after prefcribed, upon being, re 9 uired theieto by the
                 Comritee of orrefpondence, Infpeaion and Safet              <tbc..
                                                                                ^,teTo%,n or Place
                 in which he d%ells, or any one of them,fhall be dif           'and have taken from
                  lim in Manner hereaftcr direced, all fuch Arms, A4m6mnitic-i and Warlike
                Implements, as hy the fnrkec(l Search can be found in his PoIThfion or belonging
                 to him ; which Declaration fliall be in tbe form and Words follow.
                 ing, viz.
                      Ike the Szifcriberi Ao each of uis'feveral j r ou~/Ar         fel teflify aml.
  The Form f declare, belore God and the World, that we ve ily beIt               t the Wflar, Refill.
  the Til,       ance and 0ppofition In which the' United Am 'riCan Cooniesuare now engaged
                 againf? the Fleets and Armies oJ'Great-Brirt.in, is on the P'artof b.- jai' Colo.
                 ntesjtf/? and necellary : And we do hereby fevirally promife, covenant ansd ex.
                gage to ad with every Perfin of this Coloy, who has or ftiall fubfctibe 41hil
                 .Declaration,or rnothcr of the.me Tenor and Wflords, that we will not djri,
                 ibe laid IF.ar, direcliy or indirefly, in any IfVays aid, abet or affi)ft any of AV
                 .\ av l or La,d Forces of the King of Great-Britain, or :,ny ct ploed by i, am
                ]iipply hem zvih any Kind of Provifions, A'lilitary or Nn'tJ Stores, or kold any
                 Correjpo idence with, or connjuxicate any Iln.lligence to any of the OjAers, So-
                 diers or idMariners belonging to the /aid ,Army or Navy, or inlift, or procure any
                 others to inbi/I into the Land or Sea Service of Great. Britsni, or tai p
                  or bear .rns againfl this or either efi        ited Colifies, or undertake to pils
                       any
                        of       ,e/lf belonomg tothe ftid'     y, er In any other Wyado
                  them ; but on the contrary, aeording to our heft Power and .Abilities, will de.
                 f.nd by           the Unitd American Colonies, and every Part thereof, againfi.
                                   Ikrs
                  every 'h/iie dttempt of the Fleets and 4rmies in the Service of Great-Britain,
                  or an) , of',em, occord,;n to the Requiremnents arid Dire6ions of the Law of thi
                  Colony that now are or tray hereafter be provided for theRegulation of theMilitia
                  thereof
   I'.ote rfpro- .An~dbe itfuriher enaed by the duthority a/ore/aid, That the Committee o'
      c ,          Correfjndence, Infleiqion and Safety in each and ever, rown and Place it)
   galnik Dclia. tl,i Colony,. or fume one Member of fuch Committee, fhall withont Delay
   q,.c,           trnder the fiid Declaration to cvery Male Perfon in their refce5ive Town and
                   1 lace! alQvc the Age of fintteen Yeare, requiring them feverally to fubfcribe the
                   fine with his Name or Sign in his or their Prefenee ; and if any onefhall re-
                  ftafe or ,ieglefi fo to do fQ' the Space of twenty-four Hours after fuci Tedir
                  is made, the faid Committee, or fume one of them, ffhall forthwith give Infor-
                  inM'tion of fich Refufal or Neglc&, to fume Juflce of (he Peoce for the County
                  i,. which fuch Delinqrient dwells : And the Jufici to whom fuch Information
                     is Uyen, flall forthwith make his Warrant, dirv&ed to thu Sheritfof the fAme
                                                                                            County.,




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     k:~t2erof* Our LOMZ7.,          One ThoniAnd >'ee JHun'dredand Seventy,fix.       Y 76.
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                                                       Tefl.                           33
County, or-his Deputy, or one of the Conflables of the Town in which fLick
fuppofed Delinquent bath his uliai Place of Abode, or any indifferent Per-
i"n, by Name requiring him forthwith to tiake the Body of fuch Delinquant, and
hint bring before the fAid Jutlice to anfwer to fuch Information, and to flhcw
Csufe, if any he hath, why he (hould not bedifarmed, and have taken frum him
all his Arms, Ammunition and Warlike' Implements ; and in Cafi it Ihall be
made to appear to the fiiid Junfice, that the fiid lnfbrmaion is true, and he fhould
not flew any f~filcicnt Caufic why he thould not forthwith be difarmed, &c.
then the faid Juf0lice iball make his Warrant, direaed to Come propet Perftn,
rcquiring him, without Delay, to difartn the fid Delinquent, and take from him
all his Arms, Ammunition and warlike Implements; and in cafe fuch Delin-
qoent fhall refufe to refign and ive uip all his Arms, Ammunition and w2arlike
It}ements, the Perfon to whom :he tid Warrant is direcd, fliall hav Power,
 after demanding Admiflion to enter the Dwelling Houfe, or any other Place be-
 loriging to the Delinquent, where he may have Reafon to fufpec& fuch Arms tare
concealed, and make flria and diligent Search for the Articles aforcfaid ; And
 in cafe he hall find any of the faid Articles, he 'hali ;!ke them, and immediately
 carry and deliver them to the Juftice who made the [aid Warranr, which Juaice
 is hereby required to'r-cejve them, and to appoint rome indi:',rnt and judicioug
Perfon or Perfons to i          fe the fame ; and the faid Juice lhall keep a true
 Account of a1 fuch Ra,'iAmmunition and Accoutrements, the Perfon or Per-
 fors they were taken from, and the Sum or Sums they were appraifel at, and
 lhall return a true Account thereof into the Secretary's Office as foon as may
 be, and fhall keep the [aid Arms, &a. faf ly to be difpolkcd of and paid for a3
 tho General Court iattorder. And if tde Perfon to whom the Warrant is di-
 ral,:d, fhnll meet wA        efiflance, or fhall have Reafun to apprehend that he
 fhall meet with Reflaance iii the Executioa of the faid Warrant, then he fball
 give Information thereof to the juftice of the Peace who irfued the hid Warra.it,
 who if hf fhall judge it needful for cart ying fuch Warrant into Execution. 'hall
 go iuPerfon to fome Military Officer in the fame County, and require him im.
 niediatcly to raife fuch a Number of th* Militia as the faid Juflice fhall judge
 nqcelrary, and the [iaid Juflice fhall proceed in Perfon with the faid Militia. and
  tlhe Perfon to whom the faid Warrant is dircekld, and in the noft prudent Way
 he can, caufe the Delinquent to be difarmed, and all the Articles aforefaid to be
  yikin from.him, and appraifed and retained in Manner as is above direacd.
      And in cae itfall be made to appear to any Juice of the Peace, that there
 is Reafon to fu'ppofe that any of the Arms, Ammunition or warlike Iraplements,
  belonging to any Perfon who Ihall refutfe or delay as abovcfaid to fubfcribe tha
-faid Declaration, arc concealed in any Vwolling-Iloufe or other Place, not be.
  longing to fuch Delinquent, fuch Juflice fhall have Power, and is hereby di-
  re&ed to cnake his Warrant to foume proper Perflln, requiring him to make dili-
  gent Search in faeh fufpefled Place or Places, to be particularly defcril,,d or
  mentioned in fueh Warrant for the Articles aforefaid ; 3nd in Cafi they ihall be
  found, fuch Proceedings fhall be thereupon hid touching the fame, as is above
  prefcribed, when they are in the aanal Pofletlion of the Delintquent aforefaid ;
  anditn cafe of Refinance or Oppofition made to the Execaution of fuch Warrant,
  the like Proosedings Ihall thereupon be had as are above direfled, when Refit-
  anee ic made to the fearching for or taking fuch Artic!lc, when in tho a'ual
    ololfrion of fich Delinquent.
      And all Officers and Soldiers of the Militia, are hereby direed to obey al
  6bferve fuch Diretion as thall be given by fetch Juffice of the Peace in the
  Premifec,
      And every Perfon who lhall refufe or nege& to fubfcribc the fidDeciaration, Who za di.
  having had the fame tondered to him as afore hid, in cafc he holds any Office               g
                                                                                          htdifi-.
  Civil or Military in this C         (hal be deemed and adjudged ip,,q/h ag dip'ua,
                                      (aony,                                         ary 0,e  i
   lifted toexercife any fuh Office; and if a Town Officer, the 'own he belongs tihe cuicoy,
   to ,shall, a1d they hereby are ipowtrvd and requireI to oroceed to make. Chelae




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                         ~7 7.e~rOfO~LO.~V,                 oiein
                                                             boln.tc' Ld;



                      of foine fit-Perfui to fervein-fich Office i;i hi3 Room-; And ic     he doc
                      not at prefnt-lihod ainy fucl Ofies, he flmalbe demed totally difqualified i6
                      be chofen or appointed, or to hold any fch Oflce, 'till rome further Order of
                      the General Ailhmbly. And in cafc any fioch tPerfhn fo retufing or nee&Ingi
                       fhall be chofai- or appeincTd to any Ofcu Civil or Military, all &s'aid Doings
                       .of fihch: Perfbnin the Execution ofmaiy fqch Office, fhall be dcemed Arid held
                       io:be ull and void, and of o6ne;Effe&, And no PeIrfon to refuting or negle&t
       An Iorn ve. ing, flhall be permitted to give his Vow6 in tho Choice of'aiy Pcrfon to feirve as
       titg for a Re. 1,preientative~in' the Gencral Court or AfreIibly, or in th. Choice ofany Mi'
       prcfritadlve, " litary, Town -orCountv Officer, until he (fiall be rellordby Order of the Ge.
            aY Mi aerOl Court, to the Privileges of a 'good ard free MeMSe f this Community.

       .row'ty of- fnd no fittled Minifer or Grammar Scheol. Mafler, who fhill-reffe or ngi#&
                      to figti faid Declaration, thal) be inrutfed by de Udeiki!
                                                                         Laws of this Colonyt
                     or recover any Salar'y orReward for anyTine orService fpcrnt or performe1'i
                     'their refpefive Offices, from and'after fteh Refull or NegleI, until they fliA
       And fr.i re.. fibfcribe fluch Declaration - And if any of the 'Gov0fars of HarvardGCl&f-e,
       ceiving any fhall refufe to rign the Declaration aforefaid, they fhall be therety dlf aali di

       Grzaam.      to receive any Salarias or:Grants of the General Afenbly, firo:Srviceg don
                    after their Refu'fal as aforefaid-"
       Parfomne who    Awl be it firiber ena~?ed by ieathe torily aford/a!, Tlat irany eron or
       illu flpply Perfonsrcfident in this Colony; fliall doring the Wa grli6rcfait, direlt- or ind
       the Army or re-1ly lupply the Army or Navy of tht King of Gr'ea-Britain,ora'ny enpliOydi
       Vavy,     'c   by him, With Provif.ons, Mi itary or Nival Stores :or hall gi ve any Intelligncae
                      to the Officers, Soldiers Or MAriners belonging to faid Army or Navy, or fhall
                      inlifl, or priocureany other Perfon or-Pcrfbns to inlifr inwohe Service of the fail
                      Army or Navy, or (hall take up or bear Arms agauiivaths or any other of th6
                      United Colonies,.or_ fhall tndertake to pilot any of th Veffe'l belonging to tk
                      faid Navy, or in any other Way fhall aid or affilt the faid Army or Navy, very,
                     Perfon fo offending. and being thereof duly convifed-beffet the Superiour-
       shall f'rfeit Courtof Judicature, &c, Pall forfeit al hi, ftate, whidhfhall b. aecordinglV
           .. ci   . fezied an4 entered upon by theOrder of' 6id Court, for teUfre of thigColony
                                                                   :
       fo,-,cd.   ,And fitch P efi'on (halt be further Pnifhcd b imlprifonment ii any of th.
                     Goals in this Colony at the Difcretion of the faid Court. for a 'erm not ex.
       Not ecceed. ceeding, three YegrF, Pnd eery Perfbn Fornnvi&ed, flialfbte tozaliy dift.A-q
       ing three     lficd to hold or exercife. ay Oflice-Civil or Military, and fiall not be piet'mi tcjd.
                   to give his Vote for any Rieprefentative to ferve in thu Gekiepal Coutrt or Afoitn.
       and be 3if. bly, or in, any rown Meeting for the Choice of anii)Tvn br County Officer
       fraa c-f-. OF forany MiiiaryOflicer, until he (halll be Yefored by Order of the General
                        Court, to the Priviieges of-a goqod Ad ftreeMember ofthis Community.
       Mode ,f pro-         ,andbe it futehtr da4Yed, That on. Complaint .Ucing m'lde by the Selleatn 5
               c. "ja orConmoittce ofCorrecFjondence ,nfpe&*5io- altdSafery, or byanyShciffrDeuty.
       .- m ..       .. Sher;J , Conflable, Grandj(Iryrmen-tor TythigrMenM,     ill an y CtorAjty in thi' Co-
       to th. LibCr lony, to anl, y juflice of the Peace fur the fame County, again-ta .ny Perfon or
       fies of the l.erlfms dwel ing or refidiig in fth Town or County, that ho or they are itlb,
       Uih edCrl. mical to the Liberties of this Colony, altiehe other UnitedColonies i A mercaj,
       Dis.             Ithe faid juflice is hereby impowered to iffue his Warrant to the Shertift
                        of the County, his Deputy, or to'the Conflables of the Town wherein fuch Per-
                        ton or Perfons dwell, requiring him to apprehend and bring before him-r fuli.
                        Perfon or Perfuna to be .examined ; and if oi EExamination it Phall'appear to th
                        faid Juflict that l e or they are iniinic-l ai-d dangerous to the Libertie of this
                        Colony, and the other United Co10nitain Am4erica, thp.                        il require
                                                                                                 1f4ice11

                      fl,ch perfon or Pcrfbrs.ito find     Urerie for the Peace and goo0lBehaviotir, as
                      ;lfi for hib Appeara-ne at th next Court of General Scfiion- Of the Pace,or
                      Superiour Court of Jt-dicature, &c. to be holden in faid County at hisDiMCretiort."
                      and for want of fifflicient Streties,Tihall commit him to the comtmon Goal
                      inthe faid Caunty, here t.obe h!ld Until the next sittg of one of fie fad
                              as the faid jutft ie in hi faid-;Wa-ran; thIl ordcr-and until Jae be i.
                                                                                                      cbargpe




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   Ir, it                                                                                      ;;v'           7,



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fon or Ile, fbni flb dIl bcfrc cii hr of the raid Courts te found    by  t4,  Jil y tuont
 "Trial €o1e initnical or dangt:rom to the        rr :c of h     0onny, r ti otnc
United Colonies, thi C (c fhall order        tat    lie be immerdiacly    Ji( rini itrd
fhiall nake thicr W~ri ati dire&A to tIme prol:ier ()&hIr, ruling in tt, hciz
and vike all the Arm, tminunition awl warlike hni, lcmmts b, loting to fi.,
 Criminal, and kommit the Gime to the Clerk of the Court, who fhall p oAc 't
 with hlch \rms in the linme Manoc' as a .ldtieo of thc Peace hefi: e tn ti i,,*d
 i, direcd to do with the Arnq taken fro I)Jy PLirlhz, for R f-'f I, or NC" Ic(! to
 fiibfi.rihc the Dclaration in th :\t reforibd ; anid iiali r,'q             hni to tirol
                                                                             1r
 ftifci nt Sorct'sq for the Icd,c atLi good Mcha'tior, for ay logfer lic                nt
 thekri lerC'.I,n ; rld on Dcfault thereof, fhall commit     hin  eo the    uicrn.  noa,
 of the Cotilnty, until he comply ni. h Itiue Order, arn fhall order the Perfim o
 ctolvi6 ed, to pay the Colt ot lVrofctii , and o 'e colitmitted untii he pny he
 fame, And cvcry Perfon fib convih:d, fiall be toI1y difilualified to hold a,"
 Offi.e, Civil or N"ilitary, o to,,,wce hii Vote for a Iy RI relelntafive to            1:1rvc
 the General Court or ,kml'ly, or lot any Miliiry lown or County Ofio:r,
  uvi utch Perfin or Perfon, lb:ill be reitred l'y th: General Court tI the khj;
 vileges of a good and frcer MenVcr of' tih; Comiulit',
      And whereasf it        kaLe pp!'id. t!'at J.- Tozvnw and u " "
                          12ay                                                 t 1 ,.
 t4 ti"11 it this ,lay, may be de'i' ute of aq,/ettt!' ci C:rrefp:,,,de':.,[;/pb_     ,
 4nd S.f.ty by Reopn eJ tkeir rut ving faja dly r'ceived the Rejf' ej
 Court direiing thereto, or ftommj~e ether (Cur : Thert lore,
     Be it f.ther e,;j9,d by ite . t'ot.Iy alpreli.1 "'h'at in all uech Towng i.
                                                                                      "'
  tand Plkccs Is did not at their annu,.l i,\l'ing in iahrcb II, agreebe ti the                          A'


 Yefolvcs of this Co-rt,   chouic f-uch Conmittce, ilke (orfmi'c U  of .C,rroMP1 . ,, e'i,                         '

 eence, tnfpeaihn or Safety in every Ecrh To<,vo -,nd Place lilt chofn he          r r:. ' ,
                                                                                   Cnrc

 thc anral Mcting in -March lilt, aic hereby di: cad all impo>wcr'J to Con- I                             &C.in
 tinue a9irig ia fiUch Cjp)vi y, and fhall _erorOnn the Lbuiiiel rqu, d in ,t-his'                           -,
 A/&of a Cnrnnittec of orrefpndenre, Ii'ptc.i.on :in Safety. nli a new C0rn, t!, C -61
    ,,brM e (hall b.,: choiin it) ticir rclpreive Towns ath Piac,. ; and Ahrrc o ic                   ,irt fly
 Coninmitits have hur.iofore been cholin, the Seicarv-en fh, :1 perform !he fir , p
  i-'nd all fJh Fo.vns and Places are dirled and inlpuwcrcd to call Aitctit;' , ,
 ani chole fitl Cotmmitee as f10 aS may e.                                                       , ,0.
       Provided ,ievyeithlels, aid be it f,'      t era-ze:1, That Tn1oelri    in this d,I
  fiall b,- conflrue to extend to the difarming, di quailifyinlg, Or avy wty punfh. ._.,.,' r
 in i, any of ihv- 1)enmtnination of Chrilians called 9ha.er,, CA n,t fi,v                  ,he '' :. " ,r r#
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  t reec-4irg ljeclaration t,-- each of the laid Dcnrihlnatimi cf Cl[ii;hJan called
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      1776       lt t&e ear PfOar LOR V, One ?'A/ and veon Aftjrn'rd #I                  evtnty.f.l*

      36                                              Fees.
        A I. 6     nlurri)y aided, affifled or abeted the fame,   hall be permitted to rign either of
       dI'l i,.lo the Declarations aforefaid, and £hall be totally difqualified to hold or exercife in
       ofi-, & thi.s Colony any Office Civil or Military, or to give his Vote for any Reprefen4
         vr: ig   tative to fierv in the General Court of thi Colony. or for any Town, County
  for Rcpre or Military Officer, and (hall have taken from him 0ll his Arms, Ammuniiots
  fentmiie, or and Warlike Implements, in the f.irne M2nner ; and the like Proeecdings lall
  for ai.y Town be thereon had, as is herein before direa&d for diflarming thofe who refure or
  County of Mi
  litary Officer. neglt& to figtn [aid Declaration.And nothing in this A& (hall be confliued to
                 ,ntitle any Perfons who may hava been heretofore difirme3 by any of the Com.
                 mittees of Corrfpondence, Infrpe&ion or Safety, in any Town or Place in this
                 Colony, to receive their Arms again, but by the Order of fuch Committee, or
                 the General Court,



                                                C H A P,          VIII.

                 An t6 for the repealing one Law of this Colony, made
                    and ptuffed in the fourth Year of the ,eig -"Of Wiian
                    and Alai'y, King and Q ieen, intitled, hln -,,aforregu-
                    latiq F&,s, andfor regulating t/e Fees and illowances of
                    tke J'veralOfficers and Tcijios w ithin this Coloiy hereu
                    aft'er mcentioned.

  preembld.             7 P'J
                            E REAYS te Feet and .4llowantie flatre in tfe fald A of Williant
                  'lV    and Mary, are in divcrj I l~lances very dVroortionat    i Io tb"; rvice$
                 uwhereto they a annexed :
  IN.i ta-        Be' ij therefore tnatrday i        .neil,
                                                      ,             oifndof Repreemiati:,e:, in G.
  bLi-Ud, viz. hieral Cotert j etvbled, aird by ih/"Al,'tbarity of tkefime, That the faid .A&of
               W'.fia/m and Mary, intitled, .44n AMc fir regulatin Fees, be and hercby is
                 repealed ; and that every Part and Paragraph thereof, be hereafter held and
                 taken to be altogether null and voidi and of noEffeA whatfoever : And that the
                 Fees and Allowances to the faveral Of5cers and Perfons within this Colony,
                 for the-Ser'vces herein after fpecified, fnall be as followeth, Vi;".
                 Fees to Judiices of the Peace, and for Services in Matters
                                 cognizabl by them fingly.
                   For every Writ oF Attachment, or OtijinaVdSarnmont, in the Form that is or
    Nag~e,
  thn+              . fitlall be preicribed by the Law of his CWony, three Pente.
                   For the Declaration, ont Shilling.
                   For the Summons upon a Capias c" Attachment, tfree Pnact,
                   For the Dc'claration in the Sntmmons, four Pence
                   Subpena for one or more Witnffes in Civil Caufc, four Pence,
                   Enring an Anion or Complaint in Civil C~afco, nine Pence.
                   For Trial of an ]lue, w2o Shilfinj;.
                   Writ of Exe~udion, ore Shilling.
                   Filing Paper,,, each one Penny,
                   Taxing a Sill of Coft, tbree Pence.
                   .Entring Judgment in Civil or Criminal Caut're, one e'Alllng.
                   Copy of every Evidence, Original Papers or Records, a' the Rate oFfvwtg
                     .Pente per Page, accounting twemy.right Lines to a Page, and sightWord.
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                   A Recegnixance or Pond of Apleal, ixicluding Principal aid Suretits, eigjk
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